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                                  NO. 23-13874
                                         In The

  United States Court Of Appeals
              For The Eleventh Circuit
                        MOTHER DOE, on behalf of John Doe,
                                                                 Plaintiff - Appellant,

                                              v.

       GRINDR, LLC, GRINDR HOLDINGS LLC, formerly known as
                     KL Grindr Holdings LLC,
                                                                 Defendants - Appellees.

            ON APPEAL FROM THE UNITED STATES DISTRICT COURT FOR THE
                          MIDDLE DISTRICT OF FLORIDA


                                    ____________

                               BRIEF OF APPELLANT
                                    ____________



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                  CERTIFICATE OF INTERESTED PERSONS AND
                  CORPORATE DISCLOSURE STATEMENT

      Appellant Mother Doe on behalf of her minor child John Doe, pursuant to

Federal Rule of Appellate Procedure 26.1 and Circuit Rules 26.1–1, 26.1–2, and

26.1–3, hereby submits her Certificate of Interested Persons and Corporate

Disclosure Statement.

      1)     In alphabetical order, are all trial judges, attorneys, persons, association

of persons, firms, partnerships, or corporations that have an interest in the outcome

of this case or appeal, including subsidiaries, conglomerates, affiliates, parent

corporations and other identifiable legal entities related to a party:

             A)     Antoon, John - Senior District Judge, Middle District of Florida

             B)     Davis Wright Tremaine LLP – Law Firm for Appellees

             C)     Doe, John - Appellant, by and through Mother Doe

             D)     Doe, Mother - Appellant, on behalf of John Doe

             E)     Fairchild, Sara - Attorney for Appellees

             F)     Gold, Loren L. – Attorney for Appellant

             G)     Grindr, LLC - Appellee

             H)     Grindr Capital LLC – sole member of Appellee Grindr
                    Holdings LLC

             I)     Grindr Gap LLC – sole member of Grindr Capital LLC

             J)     Grindr Group LLC – sole member of Grindr Gap LLC

             K)     Grindr Holdings LLC - Appellee

             L)     Grindr Inc. (GRND) – sole member of Grindr Group LLC

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            M)      Hach Rose Schirripa & Cheverie, LLP – Law Firm for
                    Appellant

            N)      Kumar, Ambika - Attorney for Appellees

            O)      Loren L. Gold, P.A. – Law Firm for Appellant

            P)      McSweeney Law Firm - Law firm for Appellant

            Q)      McSweeney, Krisel - Attorney for Appellant

            R)      Nappi, Hillary– Attorney for Appellant

            S)      Walters Law Group - Law Firm for Appellees

            T)      Walters, Lawrence G. - Attorney for Appellees

      2.    The name of every other entity whose publicly-traded stock, equity, or

debt may be substantially affected by the outcome of the proceedings:

            Grindr Inc. (GRND)

      3.    The name of every other entity which is likely to be an active participant

in the proceedings, including the debtor and members of the creditors’ committee

(or twenty largest unsecured creditors) in bankruptcy cases:

            None.



                                                          /s/ Krisel McSweeney
                                                    Krisel McSweeney
                                                    Counsel for Appellant




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               STATEMENT REGARDING ORAL ARGUMENT

      Pursuant to Federal Rule of Appellate Procedure 34(a)(2) and Eleventh Circuit

Rule 28–1(c), Appellant believes that oral argument will assist the Court in deciding

this appeal.

      This appeal presents important questions concerning whether Section 230 of

the Communications Decency Act, 47 U.S.C. § 230 (“Section 230”) immunizes the

Defendants from claims of negligence and intentional infliction of emotional distress

(“IIED”). These are novel questions of first impression with unsettled law in this

circuit. A robust discussion of these complex issues at oral argument will

substantially assist the Court in its consideration of this appeal. Oral argument will

also allow the Court to explore the Appellant’s arguments in greater detail.




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                        STATEMENT OF JURISDICTION

      The United States Court for the Middle District of Florida had jurisdiction

pursuant to 28 U.S.C. § 1332 as there is diversity of citizenship, and this case and

controversy exceeds $75,000.

      The District Court entered the Order appealed from on October 26, 2023 (the

“Order”). Doc. 50. Appellant filed a notice of appeal on November 22, 2023 which

is timely pursuant to Local R. 31–1; Fed. R. App. 4(a)(1). Doc. 51. This Court has

appellate jurisdiction pursuant to 18 U.S.C. § 1291 because this appeal is from a

final decision disposing of all claims against all parties.

                          STATEMENT OF THE ISSUES

I.    Whether Grindr is immune pursuant to the Communications Decency Act of
      1996, 47 U.S.C. § 230(c) (Section 230”), when it negligently operated its app
      by maintaining a weak age verification system, misrepresenting minors’
      ability to create an account on the app, and failing to warn of the known risk
      of sexual abuse to minors.

II.   Whether, in the alternative, Appellant’s claims are excepted under Section
      230 due to Grindr’s material contribution resulting in Plaintiff’s sexual abuse.

                                 INTRODUCTION

      Mother Doe, on behalf of her minor son, John Doe (“Doe”), appeal the

October 26, 2023 order issued by the District Court for the Middle District of Florida

dismissing the Second Amended Complaint. The District Court held that Section 230

of the Communications Decency 47 U.S.C. § 230 (“Section 230”) operates as a

complete bar to the Appellant’s case prior to discovery, despite well–pleaded facts

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that the claims brought forth are based on Defendants’ own misconduct. Appellant’s

claims are not based on third party content and do treat Defendants as a publisher or

speaker, and thus, do not fall under the purview of Section 230.

                          STATEMENT OF THE CASE

BACKGROUND

      Grindr is a dating application that facilitates sexual encounters between its

users. Doc. 28 ¶ 13. Every time the Grindr website is visited, an autoplay video

shows six men in underwear—clearly outlining their genitalia—engaging in

sexually suggestive touching. Doc. 28 ¶ 18. Grindr offers a subscription-based

"incognito feature" that promotes user anonymity, allowing subscribers to leave their

profiles empty without disclosing personal details such as name, age, or location.

Doc. 28 ¶ 16. Doe and Edward Pritt (“Pritt”), an adult male Grindr user, met virtually,

and Pritt facilitated a physical meeting via the Grindr app. Id. Pritt’s profile was

anonymous, lacked a picture and personal information, and only displayed an avatar.

Doc. 28 ¶ 27. Pritt located Doe using the app’s geolocation features. Doc. 28 ¶ 28.

On or about October 2, 2022, law enforcement discovered Doe, who was just thirteen

years old, performing sexual acts on Pritt in his car. Doc. 28 ¶ 26.

      Grindr falsely claims that minors cannot register on its app or website. Doc.

28 ¶ 16. Prior to Plaintiff’s sexual assault, Defendants had actual and/or constructive

notice of allegations involving sexual abuse or trafficking of minors by adult male



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Grindr users, after easily accessing and creating a profile on Grindr. Doc. 28 ¶¶ 18,

19. Indeed, Defendants maintained a weak and perfunctory age verification system,

allowing minors to easily bypass verifying their age and create a profile, making

them a target for sexual predators. Doc. 28 ¶ 14. Notably, many options exist for

Grinder to have more effective age verification measures, but Grindr has refused to

implement, although it is aware of the serious danger it presents to minors accessing

the website or application. Doc. 28 ¶ 22. Further, Grindr fails to acknowledge that

minors have the ability to sign up on Grindr with the potential of being sexually

abused or trafficked by its adult users. Doc. 28 ¶ 17. Due to Defendants’ failure to

implement reasonable safety measures, Doe was sexually abused by Pritt. Doc. 28 ¶

11.

      Grindr neglected its responsibility by continuing to use an inadequate age

verification system, falsely claiming that minors could not register, and not alerting

users to the well-known risks of sexual abuse of minors, significantly contributing

to Pritt's sexual exploitation of Doe. Doc. 28 ¶ 20, 21. Grindr had up to 13 million

active users at the end of 2022 and is worth over $977 million. Doc. 28 ¶ 26. Grindr

has an incentive to recklessly turn a blind eye to underage users because those

additional users increase its profits. Doc. 28 ¶ 24. Grindr is fully aware of the extent

to which its website is used to sexually target, groom, exploit, and abuse children

like Doe. Doc. 28 ¶17.



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PROCEDURAL HISTORY

        Appellant resides in Florida and commenced this lawsuit on March 21, 2023

in the United States District Court for the Middle District of Florida. Doc. 1. On

April 26, 2023, a First Amended Complaint was filed. Doc. 8. On June 20, 2023,

Grindr, LLC. filed a Motion to Dismiss the First Amended Complaint. Doc. 22.

        On July 5, 2023, a Second Amended Complaint was filed, alleging negligence

and intentional infliction of emotional distress. Doc. 28. On August 23, 2023, a

Motion to Dismiss the Second Amended Complaint was filed pursuant to Federal

Rule of Civil Procedure 12(b)(6). Doc. 44. Defendants argued that Section 230

immunized their alleged conduct. Id. On October 26, 2023, Judge John Antoon II

dismissed Plaintiff–Appellant’s Second Amended Complaint. Doc. 50. Specifically,

the Court found that “Defendants meet the three elements required for immunity

under Section 230.” Doc. 50, p. 7. The District Court also determined that

Defendants did not make a material contribution to the illegality of Pritt’s conduct,

and thus, Plaintiff’s claim failed to meet the exception under Section 230. Doc. 50,

p. 6.

        By order entered on October 26, 2023, the District Court dismissed Plaintiff–

Appellant’s Second Amended Complaint with prejudice. This order was

immediately appealable as a final decision pursuant to 28 U.S.C. § 1291. Plaintiff–

Appellant timely filed her notice of appeal on November 22, 2023. Doc.51.



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STANDARD OF REVIEW

      This Court reviews de novo district court decisions on a motion to dismiss.

Under this standard, the Court accepts the facts as true and construes all favorable

inferences in the light most favorable to the plaintiff. Harry v. Marchant, 291 F.3d

767, 769 (11th Cir. 2002); Brown v. Budget Rent–A–Car Sys., Inc., 119 F.3d 922, 923

(11th Cir. 1997).1 Since the District Court summarily granted Section 230 immunity

to the Appellees, the Appellant’s claims were dismissed without being treated “as

true” and without “all favorable inferences in the light most favorable to the

plaintiff.” The District Court blanketly applied Section 230, without consideration

of the specific facts alleged by Doe.

      In this case, the Appellant amply pleaded claims and is entitled to the

presumption that those allegations are true. Brooks v. Blue Cross & Blue Shield of

Fla. Inc., 116 F.3d 1364, 1369 (11th Cir. 1997). In the light most favorable to Doe,

the Court should evaluate the Appellees’ Section 230 preclusion arguments, and

then, the Appellant’s facts and favorable inferences should override the Appellees’’



1
 A Rule 12(b)(6) motion to dismiss tests whether the complaint provides: “a short
and plain statement of the claim showing that the pleader is entitled to relief.” Rule
8(a)(2). See Vanlandingham v. City of Abbeville, Alabama, 483 F. Supp. 3d 1174,
1179–80 (M.D. Ala. 2020). This “does not require ‘detailed factual allegations.’”
Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). The reviewing court is “to
draw on its judicial experience and common sense.” See Ashcroft v. Iqbol, 556 U.S.
662, 679 (2009). A complaint should not be dismissed for failure to state claim unless
no set of facts would entitle the plaintiff to relief. See Twombly, 550 U.S. at 570.

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unsupported conclusions. This is especially true when there has been zero discovery

and absolutely no opportunity to pierce the technology veil to uncover the inner

workings of Grindr’s algorithms, profit model, actual or constructive knowledge of

sexual abuse of minors due to its website, application development and design,

product design, content moderation, and monetization.

      The following is one example of the District Court’s erroneous parsing of the

Appellant’s pleading:

      Merely providing the forum where harmful conduct took place
      cannot… serve to impose liability onto [a provider]. M.H. v.
      Omegle.com, LLC, Case No. 8:21-cv-814-VMC-TGW, 2022 WL
      93575, at *5 (M.D. Fla. Jan. 10, 2022) (citing Klayman v. Zuckerberg,
      753 F.3d 1354, 1358 (D.C. Cir. 2014)).

Doc. 50, p. 5. However, Appellants’ Second Amended Complaint, states:

      Defendants had actual or constructive notice that minors had access to
      the site and, therefore, were vulnerable to sexual abuse. Nevertheless,
      GRINDR negligently failed to warn Plaintiff and/or Plaintiff’s parents
      that users of GRINDR frequently use its site to sexually assault
      children. Grindr also failed to create reasonable safety measures to
      prevent minors from accessing the site or app. Thus, placing minors,
      including John Doe, in a foreseeable zone of risk of sexual abuse.
      Grindr could have anticipated John Doe’s sexual abuse by Pritt, and had
      the ability to avoid the risk of sexual abuse to John Doe.

      Grindr knowingly risks children’s safety and lives for profit. Upon
      knowing of the risk to minors, Grindr failed to implement reasonable
      measures, such as a warning or a stricter age verification mechanism,
      to lessen the risk or prevent minors from being exposed to potential
      sexual abuse or trafficking. As an application/ website that facilitates
      sex between its users and allows users to use geolocation features to
      locate other users, Grindr’s unique sex-based platform poses a



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      significant threat to unsuspecting minors, or minors who cannot
      possibly fathom the repercussions of their actions.

Doc. 28, p. 8-9. Appellant did not allege that Appellees “merely provided the forum

where the harmful conduct took place,” but instead that they knowingly designed,

created and maintained a website that exposed minors to sexual abuse, sex

trafficking and exploitation, in pursuit of financial benefit. The District Court failed

to consider or even mention Grindr’s actual and/or constructive knowledge of the

danger its website/ application posed to minors prior to Doe’s sexual abuse in its

Section 230 analysis. Undoubtedly the legislature did not intend to create blanket

immunity under Section 230, including instances in which an adult, sex-based

application or website financially benefit from exploitation and sexual abuse of

minors; the latter is a factual basis for liability in this case and should not be ignored

as plainly done by the District Court in its decision. Doc. 50 p. 5.

      Most notably, the District Court made the following contradictory statement:

      If Defendants had not allowed John access to the app and published his
      communication with Pritt, the two would not have met and the sexual
      assault would not have occurred.

Doc. 50 p. 5 (emphasis added). The District Court admittedly stated that “Defendants

allowed John access […],” to Appellees’ app. The District Court acknowledges the

crucial fact that Defendants allowed Doe access to the app. This fact underscores the

foundation of Doe's claims against the Defendants. Yet, the District Court ignores

this allegation and its effect in its analysis, committing reversible error.

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         The cases relied on by the District Court in its decision are distinguishable

and therefore, should not serve as a basis of dismissal. Similarly, the District Court

failed to consider factually analogous cases, instructive in other District Courts.2

Section 230 generally shields interactive computer services (“ICSs”) from liability

for content provided by third-party users. However, if the ICS itself has knowledge

of a known danger and fails to take reasonable action to warn or protect users from

the known danger, liability may still exist since the ICS has done more than “merely

host” third-party content. Appellant is not alleging that Grindr should be held

responsible for Pritt’s communications, but that Grindr is liable for its own actions

that allowed Doe access to Grindr’s website/app, including utilizing a weak age

verification system; misrepresentations concerning minors’ access to its platform;

and failure to warn of the known risk of sexual abuse to minors, resulting in his

sexual assault. The Court should remain bound to well established precedent and

accept the Appellant’s facts as true and construe all favorable inferences in the light

most favorable to Doe.

                              SUMMARY OF ARGUMENT

         This appeal concerns the scope and application of the bar on causes of action

against ICSs set forth in Section 230. The District Court held that Doe’s negligence

and intentional infliction of emotional distress claims are barred by Section 230,


2
    This is a case of first impression in this jurisdiction.

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based on the following language in the statute: “[n]o provider or user of an

interactive computer service shall be treated as the publisher or speaker of any

information provided by another information content provider.” 47 U.S.C. §

230(c)(1).

      Contrary to the District Court’s ruling, 47 U.S.C. § 230(c)(1) does not bar

Doe’s claims for Appellees’ failure to warn of a known and serious danger,

misrepresentation, and failure to maintain a reasonable age verification system.

Importantly, the claims brought forth against Appellees do not involve third party

content and do not treat Grindr as a “publisher or speaker” of third-party content.

The District Court’s decision to the contrary stretches the statutory language beyond

any reasonable interpretation. Moreover, barring Doe’s claims is contrary to

precedent applying § 230(c) immunity.

      Defendants, equivalent to panderers or traffickers, are attempting to skirt

liability for their own misconduct pursuant to the CDA. This is dangerous,

inconsistent and unsupported precedent by the District Court. This means that

anyone can design, create and maintain an app or website, under the guise of an adult

website, for the purpose of exploiting or trafficking children with impunity, while

having superior knowledge it has essentially created an attractive nuisance. This is

essentially what Defendants have accomplished with the lower court’s decision.

Congress never intended Section 230 to limit liability for misconduct that utilizes



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the internet to facilitate and perpetuate child sexual abuse, for the purpose of

financial benefit. Applicable case law, statutory history, and the plain language of

Section 230 support the conclusion that Section 230 immunity does not apply in this

case.

        Doe’s state claims, including failure to warn and implement a reasonable age

verification system and misrepresentation, are otherwise entirely consistent with the

purposes and intent of Section 230 to promote unfettered speech on the Internet and

allow Internet service providers to self-regulate by screening and removing offensive

content. Doe’s claims do not interfere with, or otherwise affect free and unfettered

communications on the internet. The District Court’s decision to bar Doe’s claims

due to Section 230 ignores the statute’s plain language, intent and public policy.

Accordingly, the District Court’s dismissal pursuant to Fed.R.Civ.P. 12(b)(6) of

Doe’s claims on the sole ground that Section 230 precludes it, is a clear error and

must be reversed.

                                   ARGUMENT

I.      SECTION 230 DOES NOT BAR DOE’S STATE CLAIMS

        Section 230 immunity is limited. For Section 230 to bar a claim against a

defendant, the following elements must be demonstrated: (1) [Defendant] is a

provider ... of an interactive computer service3, (2) the claim is based on information


3
    This element is undisputed.

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provided by another information content provider and (3) the claim would treat the

defendant as the publisher or speaker of that information.’” Herrick v. Grindr, LLC,

306 F. Supp. 3d 579, 588 (S.D.N.Y. 2018), (internal quotation marks omitted)

(quoting FTC v. LeadClick Media, LLC, 838 F.3d 158, 173 (2d Cir. 2016)). The test

is conjunctive, meaning all elements must be satisfied. Here, the last two elements

of Section 230 are not satisfied.

      Doe’s claims are not based on information provided by another information

content provider, and do not treat Defendants as publisher or speaker. Doe’s state

claims of negligence and intentional infliction of emotional distress are rooted in

Defendants’ misrepresentation, and failure to warn4 and maintain a reasonable age

verification system. Doe’s claims are not precluded by Section 230.5

      “The plain language of the [Section 230] [known as the good Samaritan

exception] only provides immunity for actions ‘voluntarily taken in good faith.’” 47

U.S.C. § 230(c)(2)(A); E-Ventures Worldwide, LLC v. Google, Inc., 188 F. Supp. 3d

1265, 1273 (M.D. Fla. 2016). It is not blanket immunity afforded to ICSs.

Consistently, the Supreme Court stated:



4
  The CDA states that ICSs have an obligation to notify its customers of parental
control protections for the protection of children. Demonstrating that holding
Defendants liable for failure to warn of a known danger to minors is consistent with
CDA language and policy. 47 U.S.C. § 207(d).
5
  Section 230(e)(3) provides, that the CDA, shall not “prevent any State from
enforcing any State law that is consistent with this section.”

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              [i]n short, the statute suggests that if a company unknowingly
      leaves up illegal third-party content, it is protected from publisher
      liability by §230(c)(1); and if it takes down certain third-party content
      in good faith, it is protected by §230(c)(2)(A). This modest
      understanding is a far cry from what has prevailed in court. Adopting
      the too-common practice of reading extra immunity into statutes where
      it does not belong […]

Malwarebytes, Inc., Petitioner v. Enigma Software Grp. USA, LLC, 141 S. Ct. 13,

15 (2020) (observing that courts have departed from the most natural reading of the

text by giving internet companies immunity for their own conduct). By definition, a

“good Samaritan” is one who acts in good faith, is faultless, or blameless in a

situation.

             Subsection (c)(2) immunizes only an interactive computer
      service's "actions taken in good faith." If the publisher's motives are
      irrelevant and always immunized by (c)(1), then (c)(2) is unnecessary.
      The Court is unwilling to read the statute in a way that renders the good-
      faith requirement superfluous.

E-Ventures Worldwide, LLC, 188 F. Supp. 3d 1265, 1273 (declining to interpret the

CDA to provide immunity regardless of defendant’s motives and deciding that

interpreting “the CDA this way results in the general immunity in (c)(1) swallowing

the more specific immunity in (c)(2).”).

      Doe’s allegations, when taken as true, demonstrate that Grindr’s actions are

far from faultless or blameless; and the decision to immunize Grindr is in direct

contradiction with Section 230 and public policy as a whole. Id.




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      A.      Doe’s Claims do not Treat Defendants as “Publisher or Speaker”

      “A defendant seeking to enjoy the immunity provided by Section 230 must

establish that […] the causes of action treat defendant as a publisher or speaker of

information […]” M.H., 2022 WL 93575, *7 (emphasis added). Section 230

precludes liability only by means of a definition or when the defendant is being

treated as a “publisher or speaker.” Fla. Abolitionist v. Backpage.com, LLC, 2018

U.S. Dist. LEXIS 55560, *10 (M.D. Fla. 2018) (citing Barnes v. Yahoo, Inc., 570

F.3d 1096 (9th Cir. 2009); Roca Labs, Inc. v. Consumer Op. Corp., 140 F. Supp. 3d

1311, 1314 (M.D. Fla. 2015). “[C]ourts must ask whether the duty that the plaintiff

alleges the defendant violated derives from the defendant's status or conduct as a

‘publisher or speaker.’ If it does, section 230(c)(1) precludes liability.” Barnes, 570

F.3d 1096.

      An analysis of Doe’s claims reveals that the District Court’s entire reasoning

is mistaken. At no point in time has Doe sought to hold Defendants liable as a

publisher or speaker. M.H., 2022 WL 93575, at *5; see also, Saponaro v. Grindr,

LLC, 93 F. Supp. 3d 319, 323 (D.N.J. 2015) (granting the motion to dismiss when

“Plaintiff [sought] to hold Defendant responsible for failing to monitor its website:

in the Complaint, Plaintiff repeatedly characterized Defendant's wrongdoing as

“failing to properly supervise its site”). “To sum up, even if [Grindr] is acting as a

publisher in releasing [Grindr] and its various features to the public, [Plaintiff’s]



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claim still rests on nothing more than [Grindr’s] ‘own acts.’” Fair Hous. Council v.

Roommates.com, LLC, 521 F.3d 1157, 1165 (9th Cir. 2008) (citing Lemmon v. Snap,

Inc., 995 F.3d at 1090 (9th Cir. 2021).

      The lower court determined Doe was treating Grindr as a publisher or speaker

relying on inapposite cases. Doc. 50, p. 5. First the District Court relied on In re

Facebook, Inc., 625 S.W.3d 80, 93 (Tex. 2021), where the Texas state court held

that Section 230 immunity applied when the plaintiff alleged that Facebook failed to

implement safeguards to prevent adults from contacting minors, report suspicious

messages, warn of sex traffickers, or identify sex traffickers on its website. The court

found that these claims treat Facebook as the publisher or speaker of third-party

communication and are therefore barred; specifically, because it required the

monitoring or posting of content. Id. Further, the District Court incorrectly reasoned

that Doe’s claims are inextricably linked to Defendant’s publications of Pritt’s

communications to Doe, citing Herrick, 306 F. Supp. 3d 579, 588, where an adult

male plaintiff sought to hold Grindr at fault for defamatory posts created by his ex-

boyfriend. In Herrick, the basis of the claim were the defamatory posts themselves.

      Doe’s claims are completely distinguishable. The instant case is likened to an

adult sex store which negligently allows minors access. The adult sex store would

be held liable for allowing entry of a minor into the store, not for the adult content

contained in the store itself. Similarly, Doe’s claims seek liability for Grindr’s



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negligence in allowing access to Doe to its adult sex app, and not for the content of

Pritt’s message itself. Here, Doe’s claims are rooted in Grindr’s failure to prevent

him – a minor – access to an inherently dangerous adult application whereas the

plaintiff in In re Facebook sought liability against Facebook due to its failure to

monitor third party content. Unlike in Zeran v. Am. Online, Inc., 129 F.3d 327, 330

(4th Cir. 1997), where the court held that “because of the “staggering” amount of

information communicated through interactive computer services, providers cannot

prescreen each message they republish,” Doe’s claims would not require such

efforts. Id.; see also, Dimeo v. Max, 433 F. Supp. 2d 523, 528 (E.D. Pa. 2006) (noting

“that without [Section 230] protection, interactive computer services would either

have to employ an army of highly-trained monitors to patrol its services, or shut

down internet forums altogether”); see also, Anderson v. Tiktok, Inc., 2022 U.S. Dist.

LEXIS 193841, *9 (E.D. Pa. 2022) (holding that Section 230 did not apply as

defendant's purported duty to warn “[did] not arise from an alleged failure to

adequately regulate access to user content,” and would not “affect how [the

defendant] publishes or monitors such content.”). Like in Lemmon, Grindr could

have “satisfied its alleged obligation—to take reasonable measures to design a

product more useful than it was foreseeably dangerous—without altering the content

that [Grindr] users generate." 995 F.3d at 1090 (internal citations omitted) (denying

the motion to dismiss upon finding that the danger was not from the post itself).



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Simply, Doe’s claims do not necessitate the monitoring of third-party content.

Rather, that Grindr adopt a reasonable age verification system, issue warnings about

known risks, and refrain from misrepresenting minors’ access to its platform.

      Indeed, ample precedent reveals that Doe’s negligence and IIED claims,

stemming from Defendants’ misrepresentation of minors’ accessibility of the Grindr

platform, and Defendants’ failure to warn of a known danger and implement a

reasonable age verification system, are outside the scope of Section 230 immunity.

M.H., 2022 WL 93575, at *5 (stating that “Section 230 shields websites from

liability against ‘any activity that can be boiled down to deciding whether to exclude

material that third parties seek to post online’”) (citing Whitney Info. Network, Inc.

v. Verio, Inc., 2006 U.S. Dist. LEXIS 1424 (M.D. Fla. Jan. 11, 2006); Lemmon, 995

F.3d 1085, 1090 (holding that the fact that “Snap allows its users to transmit user-

generated content to one another does not detract from the fact that the Parents seek

to hold Snap liable for its role in violating its distinct duty to design a reasonably

safe product.”); Camacho v. Control Grp. Media Co., LLC, 2022 U.S. Dist. LEXIS

140211, *41 (S.D. Cal. 2022) (holding that “[w]hat matters when we assess this

element is ‘whether the cause of action inherently requires the court to treat the

defendant as the ‘publisher or speaker’ of content provided by another’”); Doe v.

Internet Brands, Inc., 824 F.3d 846 (9th Cir. 2016) (holding that Section 230

immunity did not apply to the plaintiff’s failure to warn claim as it was not within



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the publisher or speaker role); Barnes, 570 F.3d 1096 ( (rejecting Section 230

immunity in a promissory estoppel claim since the claim did not seek to hold the

defendant liable as a publisher or speaker of third-party content, who promised to

remove the content and then breached the promise); see also, Carafano v.

Metrosplash.com, Inc., 339 F.3d 1119 (9th Cir. 2003) (finding that “clear illustration

of a cause of action that treats a website proprietor as a publisher is a defamation

action founded on the hosting of defamatory third-party content.”); Lansing v.

Southwest Airlines Co., 2012 Ill. App. LEXIS 458, *1 (1st DCA 2012) (holding

that § 230(c) did not apply to plaintiff's negligent supervision claim because any

issue concerning whether the airline acted like a publisher or speaker of the offensive

material was irrelevant to plaintiff’s claim); Dyroff v. Ultimate Software Grp., Inc.,

934 F.3d 1093 (9th Cir. 2019) (denying the plaintiff’s claims since her allegations

rested entirely on Defendants’ presentation of “dangerous and deadly videos”

created by third parties and uploaded by TikTok users); Green v. Am. Online, 318

F.3d 465, 471 (3d Cir. 2003) (holding that “[c]ourts will find this element to be

satisfied where a plaintiff's claim alleges that an ICS provider should have screened

or filtered information provided by their users”); City of Chicago v. StubHub!, Inc.,

624 F.3d at 366 (7th Cir. 2010) (noting that § 230(c)(1) merely “limits who may be

called the publisher of information that appears online,” and while that “might matter

to liability for defamation, obscenity, or copyright infringement,” that does not mean



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it will be appropriate elsewhere); Saponaro, 93 F. Supp. 3d 319, 323 (holding CDA

immunity applied when the plaintiff alleged that Grindr failed to properly supervise

its site).

        The District Court failed to recognize, that, as in Barnes, Internet Brands, and

Lansing, Grindr’s common law duty is not dependent on its status as a “publisher”

of content. The District Court’s conclusion is a clear deviation from precedent in

determining whether Section 230 immunizes Grindr. Grindr had a duty to warn,

refrain from misrepresentation and reasonably maintain an age verification system,

upon having actual/ constructive knowledge of a risk of sexual abuse to minors

irrespective of its role as a publisher of third-party content. The promise in Barnes,

the failure to warn in Internet Brands, and the negligent supervision claim in Lansing

that fell beyond the scope of § 230(c)(1), are conceptually no different from the

claims in the instant case. Internet Brands, Inc., 824 F.3d 846; Barnes, 570 F.3d

1096; Lansing, 2012 Ill. App. LEXIS 458, *1. Grindr’s actions, in the face of

superior information posing a grave danger to minors, is not a publishing decision

regarding third party content, nor does it implicate any such publishing decision. The

publication of third-party content from Grindr members is peripheral to, and

unaffected by the tort theories of liability alleged in the instant case. Applying the

analysis set forth, the conclusion is unavoidable that Plaintiff’s claims do not derive




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from Grindr’s status as a “publisher or speaker.” The District Court’s conclusion to

the contrary is therefore in error.

      Like the Lemmon Court declared of Snap, Grindr “‘is an internet publishing

business. Without publishing user content, it would not exist. But though publishing

content is a but-for cause of just about everything [Grindr] is involved in, that does

not mean that the [Plaintiff’s] claim, specifically, seeks to hold [Grindr] responsible

in its capacity as a publisher or speaker.” 995 F.3d at 1090 (internal citations

omitted). If the Legislature meant for Grindr to be immunized simply because it is

considered an ICS provider, the other two elements would be rendered superfluous

and unnecessary. Marx v. Gen. Revenue Corp., 568 U.S. 371, 373 (2013) (holding

that the “canon of statutory construction against surplusage is strongest when an

interpretation would render superfluous another part of the same statutory scheme”).

Further, it is not fathomable that the Legislature meant to allow an ICS provider to

engage in misconduct with impunity for the simple fact that it is an ICS Provider.

Lemmon, 995 F.3d at 1090 (holding that “[b]ecause the Parents' claim does not seek

to hold Snap responsible as a publisher or speaker, but merely seeks to hold Snapchat

liable for its own conduct, principally for the creation of the Speed Filter, § 230(c)(1)

immunity is unavailable”) (internal citations omitted).

      There is no precedent with identical facts to the instant case: an adult, sex-

based application/website being held liable for negligently allowing minors access



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to its site, upon having constructive and actual knowledge of sexual abuse of minors

who access their site. 6 The most analogous case is Internet Brands, arguably a

landmark case for tech, cited in over 40 courts nationwide. Paradoxically, it is one

of the only cases not cited to, or addressed in the lower court’s decision.

      In Internet Brands, the Ninth Circuit held that Section 230 did not immunize

the defendant from Jane Doe’s claims as she did not seek to hold Internet Brands

liable as a “publisher or speaker” of content someone posted, or for Internet Brands’

failure to remove content posted on the website, but instead, for its failure to warn

of a known danger of sexual abuse to it is users. There, as here, the defendant knew

of the risk of sexual abuse to women on its site, but failed to warn its users. Internet

Brands, Inc., 824 F.3d 846; see also Maynard v. Snapchat, Inc., 346 Ga. App. 131,

136 (Ga. Ct. App. Oct. 30, 2020) (acknowledging that the plaintiff in Internet

Brands, Inc. “sought to hold Internet Brands liable based on its knowledge of the

rape scheme [,] and for failing to generate its own warning.”) (internal citations

omitted).




6
 The instant case is noteworthy. The public has had access to the internet since 1991.
Over thirty years later, the Court has the privilege of deciding a matter with a unique
set of facts that has not been litigated on a federal level. The Court’s holding in this
case will continue to shape the rapidly evolving internet world, and set the standard
for sex-based applications or websites for protection of minors. The safety benefits
are far-reaching.

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      The lower court fails to address Doe’s individual causes of actions in its

flawed analysis. First, Doe’s negligence claim is based on Defendants owing Doe a

duty after placing him in a foreseeable zone of risk of sexual abuse when failing to

warn and implement a reasonable age verification feature, resulting in Doe’s sexual

abuse. Second, Doe’s IIED claim is based on Grindr knowingly risking children’s

safety and lives for financial gain. Knowing the risk to minors, Grindr

misrepresented the ability of minors to create accounts, failed to warn of the known

dangers of sexual abuse, and failed to implement reasonable safety measures, such

as a stricter age verification mechanism to lessen the risk to minors of sexual abuse

or trafficking. Here, Plaintiff’s claims do not pertain to Grindr’s traditional editorial

functions relating to publishing, withdrawing, postponing or altering content. The

acts of refraining from misrepresentation, warning of a known danger, and

implementing a reasonable age verification system are not matters publishers

undertake, and therefore, are not barred by Section 230.

      B.     Doe’s Negligence and IIED Claims Are Not Based on Third-Party
             Content

      In jurisdictional cases where courts have found that third party

communications are involved, the actual publication of a third-party user’s posts

caused the harm, and the causes of actions depended on the content of the posts

themselves. L.H. v. Marriott Int’l, Inc., 604 F. Supp. 3d 1346, 1361-67 (S.D. Fla.

2022) (holding that craigslist’s failure to prevent or remove the postings is precisely

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the type of conduct Congress sought to immunize.”); Rodriguez v. OfferUp, Inc.,

2019 U.S. Dist. LEXIS 247480, *8 (M.D. Fla. 2019) (granting Section 230 immunity

when plaintiff sought to hold defendant liable for its exercise of a publisher's

traditional editorial functions—such as deciding whether to publish, withdraw,

postpone or alter content); Whitney Info. Network, Inc., LLC, 2008 U.S. Dist. LEXIS

11632, *1 (holding that the defendant was immune from the plaintiff’s claims

because it failed to rebut evidence “that the consumer postings being litigated were

created by third parties”); Am. Income Life Ins. Co. v. Google, Inc., 2012 U.S. Dist.

LEXIS 190487, *8-9 (N.D. Ala. 2012) (holding that Section 230 immunity applied

to plaintiff’s claims since the content of the “allegedly ‘disparaging and/or

misleading representations’ upon which the Complaint is based was created by the

third-party websites and not Google”).

      Continuing in this vein, the instant case is distinguishable from all

jurisdictional cases and Julie Doe II v. MySpace, Inc., 175 Cal. App. 4th 561 (2009),

relied on by the District Court, where Section 230 immunity was applied. Section

230 immunity does not apply in this case because there was no third-party user

content as the basis of the claim since plaintiff seeks to hold Defendants liable for

their own conduct, principally for failure to warn and implement a reasonable age

verification system, and misrepresentation. Pritt’s communication via the Grindr

platform is incidental to, and not the basis of Plaintiff’s claim, such that to bar



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Plaintiff’s claim is to take § 230(c)(1) into the realm of sweeping immunity rejected

by precedent. Enigma Software Grp. USA, LLC, 141 S. Ct. 13, 15; Internet Brands,

Inc., 824 F.3d 846 (advising that “we must be careful not to exceed the scope of the

immunity provided by Congress. Congress could have written the statute more

broadly, but it did not.”). On this basis alone, Section 230 immunity does not apply.

      Doe's claims of negligence and IIED stem from Grindr’s shortcomings and

not from third-party content. Doe’s allegations highlight Grindr’s knowledge of the

risk the platform presented to minors and Grindr’s misrepresentations about minor

access, coupled with failure to warn of known dangers, and an ineffective age

verification system. Doe’s claims are unrelated to any interactions between Pritt and

Doe before the assault. In MySpace, Inc., the Court held that the plaintiff’s

allegations that MySpace was “liable for its failure to implement measures that

would have prevented [the plaintiff] from communicating with [her attacker was]

merely another way of claiming that MySpace was liable for publishing the

communications” between them. MySpace, Inc., 175 Cal. App. 4th 561. Here, Doe

has alleged no such thing. Instead, Plaintiff alleged:

      Defendants had actual or constructive notice that minors had access to
      the site and, therefore, were vulnerable to sexual abuse. Nevertheless,
      GRINDR negligently failed to warn Plaintiff and/or Plaintiff’s parents
      that users of GRINDR frequently use its site to sexually assault
      children. Grindr also failed to create reasonable safety measures to
      prevent minors from accessing the site or app. Thus, placing minors,
      including John Doe, in a foreseeable zone of risk of sexual abuse.



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      Grindr could have anticipated John Doe’s sexual abuse by Pritt, and had
      the ability to avoid the risk of sexual abuse to John Doe.

Doc. 28 ¶ 36 (emphasis added). Plaintiff does not claim that Grindr was negligent

for failing to restrict or limit communications on its website. Instead, Doe’s claims

are limited to his initial access to the Grindr app/website. Doe’s allegations rest upon

Grindr’s unique position to warn minors of a known danger and prevent further

harm. MySpace, Inc., 175 Cal. App. 4th 561 (barring suit under the Section 230 for

the same reason, since plaintiffs “want[ed] MySpace to ensure that sexual predators

do not gain access to (i.e., communicate with) minors”). It is important to note that

MySpace, unlike Grindr, is not a sex-based app/website, thus, operating under a

different standard for access by minors.

      Grindr is a dating application that facilitates sexual encounters between
      its users. Consistently, when accessing the Grindr website, there is an
      autoplay video of six men in underwear, with a clear imprint of their
      private areas, caressing each other in a sexual manner.

Doc. 28 ¶¶ 13, 18. Had there been no access by Doe ab initio, he would have never

met Pritt. Like in A.M. v. Omegle.com, LLC, 614 F. Supp. 3d 814, 821 (D. Or. 2022),

the defects alleged here also concern minors’ abilities to access online platforms. Id.

(holding that CDA immunity did not apply because the claim did not rest on third

party communications, but instead rests on Omegle connecting minor children and

adult men, and that it does so before any content is exchanged between them); see

also In re Soc. Media Adolescent Addiction/Personal Inj. Prods. Liab. Litig., 2023



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U.S. Dist. LEXIS 203926, (stating “[D]efendants could meet this duty without

making any changes to how they publish content, by providing warnings for any and

all of the alleged defects.)”. Thus, the basis of Doe’s claims against Defendants lies

in Doe’s access to the adult sex-based platform, with no warning to parents, not

Pritt’s communications themselves. Because Pritt's posts are not the basis of Doe’s

claims, the third element of Section 230 is not satisfied.

II.   PUBLIC POLICY AND LEGISLATIVE INTENT REQUIRE A
      REVERSAL OF THE DISTRICT COURT’S DECISION

      The District Court recognizes that “[t]he purpose of § 230 statutory immunity

is to ‘maintain the robust nature of Internet communication’ and to avoid the

‘obvious chilling effect' that would result from the specter of tort liability on service

providers for millions of postings by third parties.” McCall v. Zotos, 2023 WL

3946827, at *2 (11th Cir. June 12, 2023). However, the facts of the instant case will

not have a chilling effect on the internet. First, plaintiff’s claims would not result in

tort liability for millions of postings. Perchance, it would have the opposite effect

and serve to prevent future lawsuits as Plaintiff’s claims rest solely on Grindr’s role

as gatekeeper. Implementing corrective measures to prevent minors from accessing

the website would significantly decrease, or eliminate altogether, the number of

minors accessing the website; whereby reducing future claims involving minors.

Second, Grindr is not a regular service provider, it is an adult, sex-based app/website

and thus, this standard would not apply to other types of service providers that do

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not exist to sell sex. Finally, specifically applied to this case, sexual predators would

not have unfettered access to communicate with minors via an adult sex-based

app/website in order to engage in sexual acts. This is consistent with making the

internet safer and, therefore, plays a role in the internet’s growth and development,

affecting the “robust nature of communications,” but in a positive way. Certainly,

this is exactly what the goal should be for the safety of our children, and ultimately,

society as a whole: for there to be a chilling effect on communications between

sexual predators and children. “[T]he information superhighway should not become

a red-light district.” 141 Cong. Rec. S1953 (daily ed. Feb. 1, 1995) (statement of

Sen. Exon). Relevant “portions of section 230’s legislative history […] showed that,

although Congress intended to encourage the growth of the young Internet, that

purpose was subsidiary to and separate from the goal of protecting children.”

Lukmire, Can the Courts Tame The Communications Decency Act?: The

Reverberations of Zeran v. America Online, 66 N.Y.U. Ann. Surv. Am. L. 371

(2010). Unquestionably, the lower court has gone against the “traditional and

transcendent interest in protecting the welfare of children.” Maryland v. Craig, 497

U.S. 836, 840 (1990).




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III.   DEFENDANTS     MATERIALLY CONTRIBUTED TO THE
       ILLEGALITY OF PRITT’S CONDUCT RESULTING IN
       PLAINTIFF’S SEXUAL ABUSE

       In the event that this Court determines Plaintiff was challenging Grindr’s

publication of content, this Court should still reverse the District Court’s decision.

Section 230’s shield protects defendants when they do not act as “information

content providers” with respect to disputed content. Under Section 230, “[e]ven if

the data [is] supplied by third parties, a website operator may still contribute to the

content's illegality and thus be liable as a developer.” Doe v. MG Freesites, Ltd.,

2022 U.S. Dist. LEXIS 23199, *48, 49 (N.D. Ala. 2022). “A website helps to

develop unlawful content, and thus falls within the exception to Section 230, if it

contributes materially to the alleged illegality of the conduct.” Id. (emphasis added).

       In the alternative, Plaintiff sufficiently alleged that Defendants materially

contributed to the illegality of Pritt’s conduct and are “responsible for what [made]

the displayed content allegedly unlawful.” Id. “In short, [Grindr] is being sued for

the predictable consequences of designing [Grindr] in such a way that it allegedly

encourages dangerous behavior.” Lemmon, 995 F.3d 1085, 1094; see also,

Saponaro, 93 F. Supp. 3d 319, 323 (holding that the plaintiff failed to allege how

Grindr contributed to the illegality of the content); FTC v. Accusearch Inc., 570 F.3d

1187, 1195 (10th Cir. 2009) (Tymkovich, J., concurring) (stating that § 230 should

not apply when the plaintiff sues over a defendant’s “conduct rather than for the

content of the information”).

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      In MG Freesites, Ltd., the Eleventh Circuit Court denied the motion to

dismiss when the defendant had actual notice of child pornography distributed on

the site; financially benefited from child sexual abuse material and turned a blind

eye to child pornography; the defendant generated tags, categories or key words that

users wishing to post child sexual abuse material can use; and their moderators were

discouraged from flagging child sex abuse material. MG Freesites, Ltd., 2022 U.S.

Dist. LEXIS 23199, *57 (denying the defendant’s motion to dismiss).

      Contrary to allegations supporting the opposite, the lower court held that

Plaintiff failed to plead facts to show that Defendants contributed to illegality of

Pritt’s messages, citing to Nemet Chevrolet, Ltd. v. Consumeraffairs.com, Inc., 591

F.3d 250, 258 (4th Cir. 2009). Doc. 50, p. 6. Similar to MG Freesites, Ltd., Doe

alleged that Grindr encourages illegal content: Defendants operate a sex-based

platform with a geolocation feature7 that is known to facilitate sex among users;

Defendants had actual or constructive notice that sexual predators and sex traffickers

were targeting minors on Grindr who easily bypassed the age verification system;

Grindr misrepresents8 children’s ability to sign up on the Grindr application or

7
  Geolocation feature is a content neutral tool. “[C]ase law has never suggested that
internet companies enjoy absolute immunity from all claims related to their content-
neutral tools” and “those who use the internet thus continue to face the prospect of
liability, even for their neutral tools, so long as plaintiffs’ claims do not blame them
for the content that third parties generate with those tools.” Lemmon, 995 F.3d at
1094. (internal citations omitted).
8
  “Internet companies remain on the hook when they create or develop their own
internet content.” Lemmon, 995 F.3d at 1093. Grindr’s misrepresentation is its own
content and should not, therefore, fall under the CDA.

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website; Grindr encourages anonymity or “incognito” features through its unlimited

services, allowing predators or traffickers to maintain anonymity; Grindr Terms and

Condition of Service contain over 16,900 words, yet, it contains no warning of the

risk or danger of sexual abuse of minors by sexual predators when accessing the

platform; upon having actual notice that children were being targeted via the Grindr

platform by adult users, Grindr has refused to implement a more reasonable age

verification system to not only prevent minors from accessing the platform, but also

prevent sexual predators and sex traffickers from having, yet another way to access

vulnerable children; and that Grindr financially benefits from continuing to conduct

business in this manner, willfully turning a blind eye to underage users. Doc. 28, ¶¶

16, 17, 18, 19, 20, 21, 22, 25, 26.

      Given the fact that Grindr is a platform that facilitates sex, and maintains an

almost nonexistent age verification measure without reasonable warning of

foreseeable sexual abuse or trafficking of minors, Grindr has knowingly and

intentionally created and maintained a black market for sexual predators and

traffickers; driving the number of subscribers to increase. Grindr is not ignorant to

the financial benefit of serving children on a silver platter to predators and traffickers

alike. Thus, like in MG Freesites, Ltd., Grindr materially contributes by designing

its platform for an illicit purpose. Id. See also, J.S. v. Vill. Voice Media Holdings,

LLC, 184 Wn.2d 95, 119 (Wash. Sept. 3, 2015) (concluding that allegations that the

website at issue developed and posted guidelines and content rules that facilitated

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child prostitution were sufficient to withstand a motion to dismiss based on the

CDA). Plaintiff has sufficiently pleaded that Defendants did “something more than

a website operator performs as part of its traditional editorial function.” Nemet

Chevrolet, Ltd., 591 F.3d 250, 258. As such, Doe’s Complaint is sufficient to

withstand a motion to dismiss based on Section 230.

      Defendants cannot, on the one hand, hold Grindr out to its users and investors

as an application for sex for profitability and on the other hand, when faced with

litigation, equate itself with social media platforms such as MySpace, Facebook,

AOL, and Kik. Grindr is likened “to other kinds of ICSs that were aptly described

in a similar case as ‘the river[s] through which internet sexual trafficking flows.’”

M.A. ex rel. v. Village Voice Media Holdings, LLC, 809 F. Supp. 2d 1041, 1055 (E.D.

Mo. 2011). A sex-based application like Grindr must take reasonable safety measures

when it comes to minors because more is at stake.9 When signing up, Grindr users

reasonably expect to be exposed to sexual content and solicited for sex, and have

access to user locations. Thus, it is just a matter of when, not if, a minor will be

exposed to the dangers of sexual abuse or trafficking upon accessing the platform.




9
 Consistently, many states have enacted age verification laws in order to access adult
content online to protect minors from exposure to pornography. Ark. Code § 4-88-
1104; La R. S. § 2800.28(B)(1); Miss. Code Ann. § 11-77-3; MCA § 30-14-159; Tex.
Civ. Prac. & Rem. Code § 129B.003; Utah Code Ann. § 78B-3-1002; Va. Code Ann.
§ 8.01-40.5.


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      The only actions Doe seeks to hold Defendants responsible for, are their own.

If the Court were to agree with Defendants, that Doe’s claims do indeed derive from

Pritt’s communications, it must also agree with the fact that the complaint

sufficiently alleges Grindr materially contributed to the illegality of Pritt’s conduct.

Due to Grindr’s almost nonexistent age verification system, sexual predators and

traffickers worldwide are aware that Grindr is a blind spot, where unsuspecting

minors are targeted and harmed; Defendants are essentially asking the Court to be

implicit in turning Grindr into a black market for predators and traffickers.

      “Because Defendant's entitlement to immunity under the [Section 230]

depends on whether Defendant 'developed' or materially contributed [to the

illegality], it is too early at this juncture to determine whether [Section 230]

immunity applies." CYBERsitter, LLC v. Google Inc., 905 F. Supp. 2d 1080 (C.D.

Cal. 2012) (cited in Fla. Abolitionist, 2018 U.S. Dist. LEXIS 55560, *11; see also

FTC v. LeanSpa, LLC, 920 F. Supp. 2d 270, 275 (D. Conn. 2013) (holding that the

“Court cannot conclude from the face of the Amended Complaint that the […]

defendants are entitled to immunity under [Section 230]"); “Taking Plaintiff's

allegations as true, Defendants are not entitled to immunity under [Section 230] at

this stage of the case.”. Hy Cite Corp. v. Badbusinessbureau.com, L.L.C., 418 F.

Supp. 2d 1142, 1145 (D. Ariz. 2005)




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                                 CONCLUSION

      For all the foregoing reasons, the Court should vacate the District Court’s

order dismissing this case and remand this matter for a determination on the merits.

Dated:     February 7, 2024
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      I hereby certify that on February 7, 2024, I electronically filed the foregoing

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